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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                           CRIMINAL ACTION

VERSUS                                                             NO. 10-204

KENNETH BOWEN                                                      SECTION "N" (1)
ROBERT GISEVIUS
ROBERT FAULCON
ANTHONY VILLAVASO
ARTHUR KAUFMAN
GERARD DUGUE                                        **Order Does Not Apply to Mr. Dugue**

                                   ORDER AND REASONS

               Presently before the Court is Defendant Bowen's "Motion for New Trial Based on

Newly Discovered Evidence of Brady and Nupue Violations" (Rec. Doc. 906). Defendants

Gisevius, Faulcon, Villavaso, and Kaufman have joined in the motion.1 For the reasons stated

herein, IT IS ORDERED that the motion is DENIED.2

               Alleging the existence of newly discovered evidence, Defendants contend that they

are entitled to a new trial. The evidence in question is a video taken by WFOR, a CBS affiliate in

Miami, Florida, of a portion of the walkway on the Danziger Bridge on the day of the shooting




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               Herein, the Court refers collectively to the five movants as "Defendants."
       2
               Defendant Arthur Kaufman has filed a separate motion for new trial (Rec. Doc. 963),
in which Defendants Bowen, Gisevius, Faulcon, Villavaso have joined. That motion is the subject
of the Court's November 30, 2012 Order and Reasons (Rec. Doc. 1070), but remains under
submission. It is not the subject of this Order and Reasons.

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before James Brissette’s body was removed. Defendant Bowen's current counsel, Robin Schulberg,3

obtained this video from Barbara Bernstein, lead counsel for the government, during preparation for

sentencing in mid-March 2012. The prosecution failed to produce it to Defendants prior to or during

the trial.

               Defendants maintain the unproduced video shows that, on the day of the September

4, 2005 shooting, there were no casings on the expanse of the walkway between Brissette’s body

and two spent shotgun shells farther down the bridge. Thus, Defendants contend, the video

definitively contradicts government witness Jeffrey Lehrmann’s testimony that Bowen kicked

casings off the walkway the day before crime scene technicians were scheduled to process the scene

in late October 2005. Because the government did not provide them with the video prior to or

during trial, Defendants argue that the government violated Napue v. Illinois, 360 U.S. 264 (1959),

by presenting testimony it knew to be false, and Brady v. Maryland, 373 U.S. 83 (1963), by failing

to produce this allegedly exculpatory evidence before trial.

               Rule 33(b)(1) of the Federal Rules of Criminal Procedure allows defendants to seek

a new trial based on newly discovered evidence within three years of the jury verdict. The required

showing consists of what are known as the Berry factors: (1) the evidence is newly discovered and

was unknown to the defendant at the time of trial; (2) the failure to detect the evidence was not due

to the defendant’s lack of diligence; (3) the evidence is not merely cumulative or impeaching; (4)

the evidence is material; and (5) the evidence if introduced at a new trial would probably produce

an acquittal. See United States v. Piazza, 647 F.3d 559, 565 (5th Cir. 2011)(citing Berry v. Georgia,

10 Ga. 511 (1851)).



        3
               Attorney Frank DeSalvo represented Defendant Bowen at trial.

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                A claim that newly discovered evidence reveals a violation of Napue v. Illinois,

however, need not satisfy the last prong of the Berry test, i.e., that the evidence in question

"probably" would produce an acquittal." See United States v. Wall, 389 F.3d 457, 473 (5th Cir.

2004); United States v. MMR Corp., 954 F.2d 1040, 1047 (5th Cir. 1992); United States v. Antone,

603 F.2d 566, 567 (5th Cir. 1979). Rather, a Napue violation is established when newly discovered

evidence shows that: (1) a witness's testimony was actually false; (2) the government knew or should

have known the testimony was false; and (3) the evidence is material. Wall, 389 F.3d at 472-73.

Under Napue, false evidence is deemed material “if there is any reasonable likelihood that [it] could

have affected the jury's verdict.” Reed v. Quarterman, 504 F.3d 465, 473 (5th Cir.2007) (quoting

Westley v. Johnson, 83 F.3d 714, 726 (5th Cir.1996)).

               To establish a Brady violation, a defendant must show: (1) the prosecution suppressed

evidence either willfully or inadvertently; (2) the evidence was favorable to the defense; and (3) the

evidence was material. See United States v. Barraza, 655 F.3d 375, 380 (5th Cir. 2011), cert.

denied, 132 S. Ct. 1590 (2012); Dickson v. Quarterman, 462 F.3d 470, 477 (5th Cir. 2006)(quoting

Banks v. Dretke, 540 U.S. 668, 691 (2004)). "Favorable evidence is that which is exculpatory or

impeaching." Id. Evidence is material, for purposes of Brady, if there is a reasonable probability that

the result of the proceeding would have been different if the prosecution had disclosed the evidence.

Id.

               On the showing made, the Court does not find any of the three tests to be satisfied.

First, though the government did not physically produce the video to Defendants, it did not withhold

the fact of its existence, or that the government had obtained a copy of it from WFOR. Indeed, the

WFOR video was referenced in two discovery items that the government provided to Defendants



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– a letter from prosecutor Bernstein to the station requesting the video on September 24, 2009

(MAD-031962), and a FBI Form 302 completed by Agent Bezak on October 1, 2009,

acknowledging receipt of the video (MAD-031885). FBI Agent Bezak also referred to the video

during the course of his trial testimony. Additionally, as the parties' submissions reveal, the video,

or at least pertinent excerpts of it, and the screenshot on which Defendants particularly focus, were

publicly available (via the internet) prior to and during the trial. And, although Defendant Gisevius's

trial counsel, Eric Hessler, emailed Bernstein, during the course of the trial, to inquire as to which

"second video" Agent Bezak twice referred, he unfortunately did not specifically mention "WFOR",

Bernstein's letter to WFOR, or Agent Bezak's 302 documenting the request for and receipt of the

video.4 If he had, the Court has no reason to conclude that the video would not have been disclosed,

or at least accurately identified, by the prosecution team.5

               In any event, it is not evident to the Court that there is a reasonable likelihood that

the Government's provision of the video in question to Defendants could have favorably affected

the jury's verdict. Contrary to Defendants' assertion, the video is far from determinative of the

alleged falsity of Lehrman's statements. At most, for many of the reasons argued by the government

in its submissions, the video is inconclusive. Further, Defendants do not contend, nor did they so



       4
                See July 17 and 18, 2011 email (Rec. Doc. 968-1, pp. 1-2). These documents reflect
that Bernstein apparently received and (twenty minutes later) responded to Hessler's query while she
was in an interview. Copying the government's paralegal, Steven Harrell, on her response, Bernstein
asked Harrell to advise defense counsel "where [the video clip] is." Defendants do not submit that
they inquired pre-trial regarding the video referenced in the letter or FBI 302 document produced
by the government during discovery. Likewise, there is no dispute that Bernstein promptly provided
the video in question in response to Schulberg's March 2012 response, or that, in response to a
subpoena (Rec. Doc. 958), WFOR provided a copy of the video directly to Schulberg (Rec. Doc.
958-3).
       5
               Id.

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contend at trial, that they, including Defendant Bowen, did not discharge firearms in the direction

of the walkway. Thus, bullet casings (in addition to the shotgun shells shown in the video)

necessarily were ejected in the street and/or the walkway on the day of the shooting. Nor have

Defendants contested that 26 metal casings and 4 spent shotgun shells were recovered from the

grassy area below the bridge by crime scene personnel approximately six weeks after the shootings,

or that at least some of the casings were matched with Defendants' firearms.

               Given the foregoing, and applying applicable legal principles, the Court is not

convinced that the relief Defendants seek is warranted. Thus, Defendants' motion is denied.

               New Orleans, Louisiana, this 4th day of December 2012.




                                                     KURT D. ENGELHARDT
                                                     UNITED STATES DISTRICT JUDGE




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